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 6
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 7

 8                              UNITED STATES DISTRICT COURT
 9                           NORTHERN DISTRICT OF CALIFORNIA
10
                                                           )   CASE NO. 3:20-cv-07358-MMC
11                                                         )
     BRENDA BARROS                                         )
12                                                         )
     Plaintiff,                                            )   DECLARATION OF STEVEN L.
13                                                         )   ROBINSON IN SUPPORT OF MOTION
                                                           )   BY BRENDA BARROS FOR LEAVE TO
14                                                         )   FILE A NOTICE OF DISMISSAL
                                                           )
15   vs.                                                   )
                                                           )
16                                                         )
     CITY AND COUNTY OF SAN                                )
17   FRANCISCO,                                            )
                                                           )
18                                                         )   Judge: The Honorable Maxine M. Chesney
                                                           )   Dept: Courtroom 7 - 9th Floor
19           Defendant.                                    )   Date: June 18, 2021
                                                           )   Time: 9:00 a.m.
20                                                         )   ____________________________

21
     I, Steven L. Robinson, declare as follows:
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     1.      I am one of the attorneys of record for Brenda Barros.
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     2.      On April 22, 2021, I sent an email to Conor Dale, Counsel for Defendant City and
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             County of San Francisco. I asked him whether he would stipulate to a dismissal
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             of this pending action. In the course of an exchange of emails, I indicated that
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             we would be seeking a dismissal “without prejudice.”
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     3.      On May 7, 2021, Mr. Dale stated in an email that his client would not stipulate
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     Barros v. City & County of San Francisco, Case No, 3:20-cv-07358-MMC
     Declaration of Steven L. Robinson in Support of Motion for Leave to File a Notice of Dismissal
       Case 3:20-cv-07358-MMC Document 47 Filed 05/11/21 Page 2 of 2



 1           to the dismissal of Ms. Barros claims without prejudice.

 2   4.      It is my understanding, based that Ms. Barros has not previously dismissed any

 3           federal- or state-court action based on or including the same claim.

 4   DECLARED AS TRUE, under penalty of perjury pursuant to the laws of the United

 5   States of America. Dated this 11th day of May, 2021. Signed in the State of California,

 6   County of San Francisco.
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                                                           Steven L. Robinson
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     Barros v. City & County of San Francisco, Case No, 3:20-cv-07358-MMC
     Declaration of Steven L. Robinson in Support of Motion for Leave to File a Notice of Dismissal   -2-
